
USCA1 Opinion

	










          September 25, 1995    [NOT FOR PUBLICATION]
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 95-1427

                                 THOMAS A. FAULHABER,

                                Petitioner, Appellant,

                                          v.

                              UNITED STATES OF AMERICA,

                                Respondent, Appellee.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Mark L. Wolf, U.S. District Judge]
                                           ___________________

                              __________________________

                                        Before

                           Selya and Stahl, Circuit Judges,
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                             and Gorton,* District Judge.
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                              __________________________

                Cheryl J. Strum on brief for appellant.
                _______________
                David J.  Apfel,  Assistant  United  States  Attorney,  and
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          Donald K. Stern, United States Attorney, on brief for appellee.
          _______________

                              __________________________



                              __________________________

          ____________________
          *Of the District of Massachusetts, sitting by designation. 



















                    Per Curiam.   We summarily affirm the  dismissal of the
                    Per Curiam.
                    __________

          petition brought by Thomas  A. Faulhaber pursuant to 28  U.S.C.  

          2255  (1994)    for essentially  the  reasons  set  forth in  the

          thoughtful  report of  the  magistrate judge,  dated November  4,

          1994, thereafter adopted by the district court on de novo review.

          We pause only to emphasize a few points.

                    First,  the  rule  is  clear  that  claims  raised  and

          rejected  on direct appeal  may not be  resurrected on collateral

          review under  the aegis of a section  2255 petition.  See Barrett
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          v.  United  States, 965  F.2d 1184,  1190  n.11 (1st  Cir. 1992);
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          Murchu v. United States,  926 F.2d 50, 55 (1st Cir.  1991), cert.
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          denied, 502 U.S. 828  (1991); Dirring v. United States,  370 F.2d
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          862, 864 (1st  Cir. 1967),  cert. denied, 377  U.S. 1003  (1964).
                                      _____ ______

          The  petitioner ignores  this rule,  rehashing  several arguments

          that this  court previously rejected  as unavailing.   See United
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          States v. Faulhaber, 929 F.2d 16 (1st Cir. 1991).
          ______    _________

                    Second, the petitioner's claim  that he did not receive

          constitutionally  effective  assistance  from the  attorneys  who

          handled his trial and his direct  appeal is bootless.  The record

          bears witness that petitioner's trial counsel provided him with a

          stellar  defense, and  that his  direct appeal  was handled  in a

          thoroughly professional manner.  In no way can the alleged errors

          in  failing to object  when the financial  instruments upon which

          the criminal  charges were based were termed "checks" rather than

          "drafts" be said to have affected the outcome of his  trial or to

          have lengthened his sentence.


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                    To say more would be to paint the lily.  On the face of

          the  petition,  dismissed as  meritless  by  the very  judge  who

          presided over Faulhaber's  original trial, Faulhaber can  satisfy

          neither  the  performance nor  prejudice  prong of  the  test for

          ineffective  assistance.  See, e.g., Scarpa v. Dubois, 38 F.3d 1,
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          8-9  (1st  Cir. 1994)  (setting  forth applicable  constitutional

          standard), cert. denied, 115 S.Ct. 940 (1995).
                     _____ ______

                    Petitioner also alleges, as before, that the government

          failed  to  produce  exculpatory  evidence in  violation  of  its

          obligations  under Brady v. Maryland, 373 U.S. 83 (1963).  During
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          pretrial discovery the prosecution gave petitioner the benefit of

          open access to all its files.   We agree with the government (and

          with  the magistrate)  that the  "undiscovered" deposit  slips to

          which petitioner  now  alludes either  are  imagined or,  to  the

          extent  they  exist,  would  most probably  have  reinforced  the

          prosecution's case if submitted  into evidence.  At any  rate, we

          rejected  a version of this claim on direct appeal as impuissant,

          and Faulhaber is foreclosed from  raising it again by means  of a

          section  2255 petition.  And,  moreover, the passage  of time has

          not increased the potency of the asseveration.

                    It follows  inexorably that the district  court did not

          abuse its discretion in denying petitioner an evidentiary hearing

          on the Brady claims.   See United States v. McGill, 11  F.3d 223,
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          225-26 (1st Cir. 1993);  United States v. Burrows, 872  F.2d 915,
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          917 (9th Cir. 1989); Baumann v. United States, 692 F.2d 565, 572-
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          73 (9th Cir. 1982);  cf. United States v. Panitz,  907 F.2d 1267,
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          1273-74 (1st Cir. 1990).

                    We need go no further.   Although hope springs eternal,

          points fully considered and properly  rebuffed cannot rewardingly

          be relitigated in  perpetuity.   Since this appeal  flies in  the

          teeth of that truism,  and presents no fairly debatable  issue of

          fact or law, the judgment of the district court must be summarily

          affirmed.  See 1st Cir. R. 27.1.
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                    Affirmed.
                    Affirmed.
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